
 1  The People of the State of Colorado, Appellee,  In the Interest of A.C. and T.H., Children, and Concerning A.N., Appellant. No. 21CA0291Court of Appeals of Colorado, Seventh DivisionNovember 4, 2021
    
               NOT
      PUBLISHED PURSUANT TO C.A.R. 35(e)
    
    
                Mesa
      County District Court No. 19JV117 Honorable Brian J. Flynn,
      Judge
    
    
               
      OPINION
    
    
               
      NAVARRO, JUDGE
    
    
               JUDGMENT
      AFFIRMED
    
    
                Grove
      and Pawar, JJ., concur
    
    